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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

LEVI STRAUSS & CO.,
                                                     Case No. 18-cv-07459
                       Plaintiff,
                                                     Judge Charles R. Norgle
       v.
                                                     Magistrate Judge Maria Valdez
SHENZHEN BARFLIN INVESTMENT CO.,
LTD., et al.,

                        Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Levi Strauss

& Co. (“LS&Co.”), hereby dismisses this action as to the following Defendant:

              Defendant Name                                       Line No.
               happy_estore                                           50


With this dismissal, the above-captioned case can be terminated.

Dated this 28th day of May 2019.                    Respectfully submitted,

                                                    /s/ Justin R. Gaudio
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                                                    Justin R. Gaudio
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